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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 19-9301 PA (AFMx)                                          Date     November 13, 2019
 Title             Yong Koo v. Akio Yamashita, et al.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
                  Kamilla Sali-Suleyman                                        Not Reported
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                  None
 Proceedings:                 IN CHAMBERS — COURT ORDER

        The Complaint filed in this action asserts a claim for injunctive relief arising out of an
alleged violation of the Americans with Disabilities Act (“ADA”) and one or more
“construction-related accessability claims” under California law, including a claim for damages
pursuant to California’s Unruh Act. Because the Court possesses only supplemental jurisdiction
over the Unruh Act and any other state law claims, and in light of California’s statutory efforts to
curtail such claims, the Court ordered plaintiff to show cause in writing why the Court should
exercise supplemental jurisdiction over the Unruh Act and any other state law claims asserted in
the Complaint. See 28 U.S.C. § 1367(c). The Court has reviewed the Response filed by plaintiff
and plaintiff’s counsel to the Court’s Order to Show Cause.

I.       ADA and Unruh Act Claims

       The ADA prohibits discrimination “on the basis of disability in the full and equal
enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any
place of public accommodation by any person who owns, leases (or leases to), or operates a
place of public accommodation.” 42 U.S.C. § 12182(a). Under the ADA, “damages are not
recoverable . . . only injunctive relief is available.” Wander v. Kaus, 304 F.3d 856, 858 (9th Cir.
2002) (citing 42 U.S.C. § 12188(a)(1)).

       The Unruh Act provides: “All persons within the jurisdiction of [California] are free and
equal, and no matter what their . . . disability . . . are entitled to the full and equal
accommodations, advantages, facilities, privileges, or services in all business establishments of
every kind whatsoever.” Cal. Civ. Code § 51(b). The Unruh Act also provides that a violation
of the ADA constitutes a violation of § 51 of the Unruh Act. Cal. Civ. Code § 51(f). Unlike the
ADA, the Unruh Act allows for recovery of monetary damages. A plaintiff may recover actual
damages for each and every offense “up to a maximum of three times the amount of actual
damage but in no case less than four thousand dollars ($4,000).” Cal. Civ. Code § 52(a). “The

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litigant need not prove she suffered actual damages to recover the independent statutory damages
of $4,000.” Molski v. M.J. Cable, Inc., 481 F.3d 724, 731 (9th Cir. 2007).

II.      California’s Limitations on the Filing of Construction-Related Accessibility Claims

        “In 2012, in an attempt to deter baseless claims and vexatious litigation, California
adopted heightened pleading requirements for disability discrimination lawsuits under the Unruh
Act.” Velez v. Il Fornaio (America) Corp., CV 3:18-1840 CAB (MDD), 2018 WL 6446169, at
*6 (S.D. Cal. Dec. 10, 2018). These heightened pleading requirements apply to actions alleging
a “construction-related accessibility claim,” which California law defines as “any civil claim in a
civil action with respect to a place of public accommodation, including but not limited to, a
claim brought under Section 51, 54, 54.1, or 55, based wholly or in part on an alleged violation
of any construction-related accessibility standard.” Cal. Civ. Code § 55.52(a)(1). California’s
heightened pleading standard for construction-related accessibility claims require a plaintiff to
include specific facts concerning the plaintiff’s claim, including the specific barriers encountered
or how the plaintiff was deterred and each date on which the plaintiff encountered each barrier
or was deterred. See Cal. Civ. Proc. Code § 425.50(a). California law requires plaintiffs to
verify their complaints alleging construction-related accessibility claims. See Cal. Civ. Proc.
Code § 425.50(b)(1). A complaint alleging construction-related accessibility claims that is not
verified is subject to a motion to strike. Id.

       When California continued to experience large numbers of these actions, California
imposed additional limitations on “high-frequency litigants.” These additional restrictions
became effective on October 15, 2015. Under California law, a “high-frequency litigant” is
defined as:

                 A plaintiff who has filed 10 or more complaints alleged a
                 construction-related accessibility violation within the 12-month
                 period immediately preceding the filing of the current complaint
                 alleging a construction-related accessibility violation.

Cal. Civ. Proc. Code § 425.55(b)(1). The definition of high-frequency litigant also extends to
attorneys. See Cal. Civ. Proc. Code § 425.55(b)(2). In support of its imposition of additional
requirements on high-frequency litigants, the California Legislature found and declared:

                 According to information from the California Commission on
                 Disability Access, more than one-half, or 54 percent, of all
                 construction-related accessibility complaints filed between 2012 and

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                 2014 were filed by two law firms. Forty-six percent of all
                 complaints were filed by a total of 14 parties. Therefore, a very
                 small number of plaintiffs have filed a disproportionately large
                 number of the construction-related accessibility claims in the state,
                 from 70 to 300 lawsuits each year. Moreover, these lawsuits are
                 frequently filed against small businesses on the basis of boilerplate
                 complaints, apparently seeking quick cash settlements rather than
                 correction of the accessibility violation. This practice unfairly taints
                 the reputation of other innocent disabled consumers who are merely
                 trying to go about their daily lives accessing public accommodations
                 as they are entitled to have full and equal access under the state’s
                 Unruh Civil Rights Act (Section 51 of the Civil Code) and the
                 federal Americans with Disability Act of 1990 (Public Law
                 101-336).

Cal. Civ. Proc. Code § 425.55(a)(2). In response to these “special and unique circumstances,”
Cal. Civ. Proc. Code § 425.55(3), California imposed a “high-frequency litigant fee” requiring
high-frequency litigants to pay a $1,000 filing fee at the time of the filing of the initial complaint
in addition to the standard filing fees. Cal. Gov’t Code § 70616.5. California law also requires
complaints filed by high-frequency litigants to allege certain additional facts, including whether
the action is filed by, or on behalf of, a high-frequency litigant, the number of construction-
related accessibility claims filed by the high-frequency litigant in the preceding 12 months, the
high-frequency litigant plaintiff’s reason for being in the geographic area of the defendant’s
business, and the reason why the high-frequency litigant plaintiff desired to access the
defendant’s business. See Cal. Civ. Proc. Code § 425.50(a)(4)(A).

III.     Supplemental Jurisdiction

       In an action over which a district court possesses original jurisdiction, that court “shall
have supplemental jurisdiction over all other claims that are so related to claims in the action
within such original jurisdiction that they form part of the same case or controversy under
Article III of the United States Constitution.” 28 U.S.C. § 1367(a). Even if supplemental
jurisdiction exists, district courts have discretion to decline to exercise supplemental jurisdiction:

                 The district courts may decline to exercise supplemental jurisdiction
                 over a claim under subsection (a) if—

                 (1)    the claim raises a novel or complex issue of State law,

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                 (2)    the claim substantially predominates over the claim or claims
                        over which the district court has original jurisdiction,

                 (3)    the district court has dismissed all claims over which it has
                        original jurisdiction, or

                 (4)    in exceptional circumstances, there are other compelling
                        reasons for declining jurisdiction.

28 U.S.C. § 1367(c). The Supreme Court has described 28 U.S.C. § 1367(c) as a “codification”
of the principles of “‘economy, convenience, fairness, and comity’” that underlie the Supreme
Court’s earlier jurisprudence concerning pendent jurisdiction. City of Chicago v. Int’l Coll. of
Surgeons, 522 U.S. 156, 172-73, 118 S. Ct. 523, 533, 139 L. Ed. 2d 525 (1997) (quoting
Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 357, 108 S. Ct. 614, 623, 98 L. Ed. 2d 720
(1988)); see also United Mine Workers v. Gibbs, 383 U.S. 715, 726, 86 S. Ct. 1130, 1139, 16 L.
Ed. 2d 218 (1966) (“It has consistently been recognized that pendent jurisdiction is a doctrine of
discretion, not of plaintiff’s right. Its justification lies in considerations of judicial economy,
convenience and fairness to litigants; if these are not present a federal court should hesitate to
exercise jurisdiction over state claims, even though bound to apply state law to them. Needless
decisions of state law should be avoided both as a matter of comity and to promote justice
between the parties, by procuring for them a surer-footed reading of applicable law.”).

        District courts may decline to exercise jurisdiction over supplemental state law claims
“[d]epending on a host of factors” including “the circumstances of the particular case, the nature
of the state law claims, the character of the governing state law, and the relationship between the
state and federal claims.” City of Chicago, 522 U.S. at 173, 118 S. Ct. at 534, 139 L. Ed. 2d
525. The supplemental jurisdiction statute “reflects the understanding that, when deciding
whether to exercise supplemental jurisdiction, ‘a federal court should consider and weigh in each
case, and at every stage of the litigation, the values of judicial economy, convenience, fairness,
and comity.’” Id. (quoting Cohill, 484 U.S. at 350, 108 S. Ct. at 619, 98 L. Ed. 2d 720).

       The Ninth Circuit does not require an “explanation for a district court’s reasons [for
declining supplemental jurisdiction] when the district court acts under” 28 U.S.C. §§ 1367(c)(1)-
(3), San Pedro Hotel Co. v. City of Los Angeles, 159 F.3d 470, 478 (9th Cir. 1998), but does
require a district court to “articulate why the circumstances of the case are exceptional in
addition to inquiring whether the balance of the Gibbs values provide compelling reasons for
declining jurisdiction in such circumstances.” Executive Software N. Am. Inc. v. U.S. Dist.
Court for the Cent. Dist. of Cal., 24 F.3d 1545, 1558 (9th Cir. 1994). According to the Ninth

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Circuit, this “inquiry is not particularly burdensome.” Id. When declining to exercise
supplemental jurisdiction under 28 U.S.C. § 1367(c)(4), “the court must identify the predicate
that triggers the applicability of the category (the exceptional circumstances), and then determine
whether, in its judgment, the underlying Gibbs values are best served by declining jurisdiction in
the particular case (the compelling reasons).” Id.

IV.      The Court Declines to Exercise Supplemental Jurisdiction Over Plaintiff’s
         Construction-Related Accessibility Claim(s)

        Because California’s heightened pleading standards and increased filing fees do not apply
in federal court, plaintiffs can circumvent the restrictions California has imposed on Unruh Act
and other claims alleging construction-related accessibility claims simply by relying on §
1367(a)’s grant of supplemental jurisdiction to file their Unruh Act claims in federal court when
they combine construction-related accessibility claims with an ADA claim for injunctive relief.
The number of construction-related accessibility claims filed in the Central District has
skyrocketed both numerically and as a percentage of total civil filings since California began its
efforts to curtail the filing of such actions. According to statistics compiled by the Clerk’s
Office, in 2013, the first year in which California’s initial limitations on such cases were in
effect, there were 419 ADA cases filed in the Central District, which constituted 3% of the civil
actions filed. Filings of such cases increased from 928 (7% of civil cases) in 2014, the year
before the imposition of the additional $1,000 filing fee and additional pleading requirements for
high-frequency litigants, to 1,386 (10% of civil cases) in 2016, the first full year of those
requirements. The number and percentage of such cases filed in the Central District has
increased in each year since California acted to limit the filings by high-frequency litigants,
reaching 1,670 (12% of civil cases) in 2017, 1,670 (18% of civil cases) in 2018, and 1,868 cases
(24% of civil cases) in the first six months of 2019.

        By enacting restrictions on the filing of construction-related accessibility claims,
California has expressed a desire to limit the financial burdens California’s businesses may face
for claims for damages under the Unruh Act and other state law theories. By filing these actions
in federal court, plaintiff has evaded these limits and sought a forum in which plaintiff can claim
these state law damages in a manner inconsistent with the state law’s requirements. This
situation, and the burden the ever-increasing number of such cases poses to the federal courts,
presents “exceptional circumstances” and “compelling reasons” that justify the Court’s
discretion to decline to exercise supplemental jurisdiction over plaintiff’s Unruh Act and any
other state law claims in this action under 28 U.S.C. § 1367(c)(4).



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       Declining to exercise supplemental jurisdiction over plaintiff’s Unruh Act and any other
construction-related accessibility claim in these circumstances supports the values of judicial
economy, convenience, fairness, and comity:

                 As a high-frequency litigant, the Court finds it would be improper to
                 allow Plaintiff to use federal court as an end-around to California’s
                 pleading requirements. Therefore, as a matter of comity, and in
                 deference to California’s substantial interest in discouraging
                 unverified disability discrimination claims, the Court declines
                 supplemental jurisdiction over Plaintiff’s Unruh Act claim.

Schutza v. Cuddeback, 262 F. Supp. 3d 1025, 1031 (S.D. Cal. 2017); see also Gibbs, 383 U.S. at
726, 86 S. Ct. at 1139, 16 L. Ed. 2d 218. Although some plaintiffs and their counsel have
argued that they file in federal court not to evade California’s restrictions, but because of the
quality of the judges, the ease of the ECF system for filing, and the prevalence of federal ADA
decisional authority, the Court finds that such arguments are unpersuasive and belied by the
recent nature of the dramatic increase in the filing of such cases in federal court.1/ Indeed, those
reasons, if true at all, do not explain why nearly 9 times more construction-related accessibility
actions are being filed in the Central District in 2019 than were filed in 2013. As one district
court recently explained:

                 In attempting to show that his decision to file in federal court is not
                 simply an attempt to evade California’s heightened pleading rules,
                 Schutza insists the ‘quality of judges [and] the quality of legal
                 rulings’ is higher in federal court. This argument, of course, flies in
                 the face of our judicial system’s equal respect for state and federal
                 courts. The convenience of electronic filing and the widespread
                 availability of published opinions—other arguments Schutza
                 advances—may be creature comforts that make filing in federal court
                 more enticing, but they hardly outweigh the disservice that is done to
                 California’s efforts to implement and interpret its own law when
                 federal courts exercise supplemental jurisdiction over these claims.
                 If Schutza were able to articulate a persuasive reason for his decision
                 to file in federal court, perhaps this would be a different story. As it
                 stands, though, the Court can discern no basis for the state law claim

         1/
               The law firm that previously asserted this purported justification abandoned that rationale
in the 40 Responses it recently filed to the Court’s Order to Show Cause.
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                 being filed in federal court other than to prevent California from
                 being able to apply and enforce its own rules.

Schutza v. Alessio Leasing, Inc. (Alessio Leasing) CV 18-2154 LAB (AGS), 2019 WL 1546950,
at *3 (S.D. Cal. Apr. 8, 2019); see also Schutza, 262 F. Supp. 3d at 1031 (“It is unclear what
advantage—other than avoiding state-imposed pleading requirements—Plaintiff gains by being
in federal court since his sole remedy under the ADA is injunctive relief, which is also available
under the Unruh Act.”). “Federal courts may properly take measures to discourage forum-
shopping, and here, where Plaintiff has filed over one hundred disability discrimination cases,
and settled more than fifty of them in a two-year period, the Court finds this to be a compelling
reason to decline supplemental jurisdiction.” Schutza, 262 F. Supp. 3d at 1031 (citing Hanna v.
Plumer, 380 U.S. 460, 467-68, 85 S. Ct. 1136, 1142, 14 L. Ed. 2d 8 (1965)).

        One firm that has filed approximately 630 actions asserting construction-related
accessibility claims in the Central District since 2016 admitted in its Responses to the Court’s
Order to Show Cause, that its filing of actions in federal court is done to avoid the “financial
burden” of California’s $1,000 high-frequency litigant fee. (See Docket No. 19 in Case No. CV
19-1847 PA (MRWx) at 7:1-5 (“[F]iling in state court would cause a ‘high frequency
litigant’ . . . such as Plaintiff to incur an unreasonable amount of financial burden in the amount
of $1,000. Such financial burden would prohibit Plaintiff from enforcing his right to bring a
substantial claim against individuals and entities who have injured Plaintiff in his right provided
by ADA and applicable state statutes.”).) It is not, under the Gibbs factors, “fair” to defendants
that plaintiffs may pursue construction-related accessibility claims in this Court while evading
the limitations California has imposed on such claims. To allow federal courts to become an
escape hatch allowing plaintiffs to pursue such claims—regardless of whether a particular
plaintiff or the small number of law firms that frequently pursue these actions currently satisfies
the definition of a “high-frequency litigant”—is also an affront to the comity between federal
and state courts.

       California’s elected representatives, not this Court, have enacted laws restricting
construction-related accessibility claims, and, as a result, dictated that these claims be treated
differently than other actions. By merely recognizing that enterprising attorneys have evaded
California’s limitations on construction-related accessibility claims by filing these actions in
federal court, this Court has not, as some plaintiff’s counsel have suggested, engaged in a
“calendar clearing exercise,” acted out of “animus towards the case load of meritorious ADA
and Unruh claims,” or “discriminat[ed] against those with disabilities.” Nor does declining to
exercise supplemental jurisdiction in these extraordinary circumstances reflect a preference for
California’s restrictions on construction-related accessibility claims or offend the Erie doctrine

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as some plaintiffs suggest in their Responses to the Court’s Order to Show Cause. That the
astronomical growth in the filing of these cases in federal court has coincided with California’s
limitations on construction-related accessibility claims suggests that it is precisely because the
federal courts have not adopted California’s limitations on such claims that federal courts have
become the preferred forum for them.

        The Court therefore concludes that “exceptional circumstances” and “compelling
reasons” support the Court’s decision to decline to exercise supplemental jurisdiction over
plaintiff’s Unruh Act claim under 28 U.S.C. § 1367(c)(4).

        Exercising the Court’s discretion to decline supplemental jurisdiction does not deprive
plaintiff of any remedies. Nor does it allow an ADA claim for injunctive relief to go
unaddressed. The ADA claim remains pending in this Court. That the ADA contains an anti-
preemption clause does not indicate, as some plaintiffs’ counsel suggest, that Congress intended
for federal courts to provide a forum allowing plaintiffs to evade state law restrictions on state
law claims. See 42 U.S.C. § 12201(b). Whatever inefficiencies are created by the Court’s
decision to decline to exercise supplemental jurisdiction are problems created by plaintiff’s filing
of this action in federal court rather than in a state court:

                 [T]here is no relief available to [plaintiff] in federal court that could
                 not be secured in state court. Had he brought this suit in state court,
                 there would have been only one suit pending and he would have
                 been eligible to receive every form of relief he seeks: an injunction,
                 money damages, and attorney’s fees. By being “inefficient” and
                 declining to exercise supplemental jurisdiction over his state claim,
                 this Court is simply recognizing that California has a strong interest
                 in interpreting and enforcing its own rules without federal courts
                 serving as a convenient end-around for creative litigants. If that
                 results in occasional inefficiency, it’s a worthwhile tradeoff.

Alessio Leasing, 2019 WL 1546950, at *4. The Court additionally notes that if plaintiff
legitimately seeks to litigate this action in a single forum, plaintiff may dismiss this action and
refile it in a state court in accordance with the requirements California has imposed on such
actions. Finally, by declining to exercise supplemental jurisdiction, the Court is merely restoring
the balance Congress struck when it enacted the ADA and provided a private right of action for
injunctive relief and an award of attorneys’ fees, but did not allow for the recovery of statutory
damages.


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                                              Conclusion

       For all of the foregoing reasons, the Court, in its discretion, declines to exercise
supplemental jurisdiction over plaintiff’s Unruh Act and any other construction-related
accessibility claim. The Court therefore dismisses any such claims without prejudice. See 28
U.S.C. § 1367(c)(4).

         IT IS SO ORDERED.




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